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               IN THE UNITED STATES DISTRICT COURT
               FOR THE DISTRICT OF SOUTH CAROLINA

 Big Red Box LLC,                        )
                                         )      C/A No.: 3:18-758-JMC-SVH
                     Plaintiff,          )
                                         )
       vs.                               )
                                         )
 Square Inc.; William Tye Grisel;        )             REPORT AND
 Joe Grisel; G5 Marketing                )          RECOMMENDATION
 Solutions LLC; and John Doe             )
 Bank,                                   )
                                         )
                     Defendants.         )
                                         )

      This matter comes before the court on the motion of Square, Inc.

(“Square”), to dismiss this action pursuant to Fed. R. Civ. P. 12(b)(6). For the

reasons that follow, the undersigned recommends the district judge dismiss

the motion to dismiss without prejudice.

      Plaintiff filed this action on March 19, 2018 [ECF No. 1] and filed an

amended complaint on May 29, 2018 [ECF No. 18]. Although a scheduling

order had not yet issued, Plaintiff served discovery requests on Square on

August 2, 2018. [ECF No. 55-1]. On August 9, 2018, Square filed this motion

to dismiss Plaintiff’s amended complaint for failure to state a claim. [ECF No.

42]. Square also advised Plaintiff that its discovery requests were premature.

[ECF No. 66 at 2].

      On September 25, 2018, Plaintiff filed a motion for entry of scheduling

order and/or to allow commencement of discovery, requesting it be allowed
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discovery before the court ruled on Square’s motion to dismiss. [ECF No. 55].

On October 16, 2018, the undersigned granted Plaintiff’s motion “to the

extent it request[ed] authorization to conduct discovery related to the

resolution of Square’s motion to dismiss” and extended the parties’ deadline

for filing supplemental memoranda to the motion to dismiss. [ECF No. 64].

      On October 30, 2018, Square filed a motion objecting to the

undersigned’s October 16, 2018 order and requesting discovery be stayed.

[ECF No. 66]. That motion is pending before the district judge.

      Because any recommendation on the motion to dismiss relates to the

district judge’s ruling on Square’s objections—i.e., whether a ruling can be

made before limited discovery is conducted and what the discovery reveals if

allowed—the motion is not properly before the undersigned at this time.

Therefore, the undersigned recommends the motion be dismissed without

prejudice to refile after the district judge determines whether limited

discovery will be permitted prior to a ruling on the motion to dismiss. The

undersigned further recommends that if the district judge permits limited

discovery, Square be permitted to refile the motion after the discovery is

completed. If the district judge does not permit discovery, the undersigned

recommends Square be permitted to refile the motion to dismiss immediately

upon the district judge’s order.




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     IT IS SO RECOMMENDED.




November 27, 2018                         Shiva V. Hodges
Columbia, South Carolina                  United States Magistrate Judge

 The parties are directed to note the important information in the attached
    “Notice of Right to File Objections to Report and Recommendation.”




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      Notice of Right to File Objections to Report and Recommendation

      The parties are advised that they may file specific written objections to
this Report and Recommendation with the District Judge. Objections must
specifically identify the portions of the Report and Recommendation to which
objections are made and the basis for such objections. “[I]n the absence of a
timely filed objection, a district court need not conduct a de novo review, but
instead must ‘only satisfy itself that there is no clear error on the face of the
record in order to accept the recommendation.’” Diamond v. Colonial Life &
Acc. Ins. Co., 416 F.3d 310 (4th Cir. 2005) (quoting Fed. R. Civ. P. 72 advisory
committee’s note).

      Specific written objections must be filed within fourteen (14) days of the
date of service of this Report and Recommendation. 28 U.S.C. § 636(b)(1);
Fed. R. Civ. P. 72(b); see Fed. R. Civ. P. 6(a), (d). Filing by mail pursuant to
Federal Rule of Civil Procedure 5 may be accomplished by mailing objections
to:

                           Robin L. Blume, Clerk
                         United States District Court
                             901 Richland Street
                       Columbia, South Carolina 29201

      Failure to timely file specific written objections to this Report and
Recommendation will result in waiver of the right to appeal from a judgment
of the District Court based upon such Recommendation. 28 U.S.C. §
636(b)(1); Thomas v. Arn, 474 U.S. 140 (1985); Wright v. Collins, 766 F.2d
841 (4th Cir. 1985); United States v. Schronce, 727 F.2d 91 (4th Cir. 1984).
